                                    UNITED STATES BANKRUPTCY COURT
                                           DISTRICT OF ARIZONA
                                            PHOENIX DIVISION

In re: SHASTEEN, STEPHANIE L.                            §         Case No. 2:18-bk-04886-DPC
                                                         §
                                                         §
                                                         §
                      Debtor(s)


                                  NOTICE OF TRUSTEE’S FINAL REPORT AND
                                    APPLICATIONS FOR COMPENSATION
                                      AND DEADLINE TO OBJECT (NFR)

          Pursuant to Fed. R. Bankr. P. 2002(a)(6) and 2002(f)(8), please take notice that David A. Birdsell,
trustee of the above styled estate, has filed a Final Report and the trustee and the trustee’s professionals have
filed final fee applications, which are summarized in the attached Summary of Trustee’s Final Report and
Applications for Compensation.
        The complete Final Report and all applications for compensation are available for inspection at the
Office of the Clerk, at the following address:

                                           United States Bankruptcy Court
                                                 230 N. First Avenue
                                                      Suite #101
                                                 Phoenix, AZ 85003
        Any person wishing to object to any fee application that has not already been approved or to the Final
Report, must file a written objection within 21 days from the mailing of this notice, together with a request for a
hearing and serve a copy of both upon the trustee, any party whose application is being challenged and the
United States Trustee. If no objections are filed, the Court will act on the fee application and the trustee may
pay dividends pursuant to FRBP 3009 without further order of the Court.

         Objections must be in writing and filed with a request for hearing with the Clerk, U.S. Bankruptcy Court,
230 N. 1st Ave., Suite 101, Phoenix, AZ 85003, the Trustee David A. Birdsell, 216 N. Center, Mesa, AZ 85201,
and the United States Trustee, 230 N. 1st Ave., Suite 204, Phoenix, AZ 85003-1706. If no objections are filed,
the Court will act on the fee applications and the Trustee may pay dividends pursuant to FRBP 3009 without
further order of the Court.
Date Mailed:                                                 By:: /s/ George D. Prentice
                                                                          Clerk, U.S. Bankruptcy Court
David A. Birdsell
216 North Center
Mesa, AZ 85201
(480) 644-1080




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                                     UNITED STATES BANKRUPTCY COURT
                                            DISTRICT OF ARIZONA
                                             PHOENIX DIVISION

In re:SHASTEEN, STEPHANIE L.                                §      Case No. 2:18-bk-04886-DPC
                                                            §
                                                            §
                                                            §
                       Debtor(s)


                                   SUMMARY OF TRUSTEE’S FINAL REPORT
                                   AND APPLICATIONS FOR COMPENSATION

                 The Final Report shows receipts of :                              $                          3,769.00
                 and approved disbursements of:                                    $                          1,116.14
                 leaving a balance on hand of1:                                    $                          2,652.86

            Claims of secured creditors will be paid as follows:

  Claim     Claimant            Claim Asserted         Allowed Amount of         Interim Payments to             Proposed
  No.                                                             Claim                        Date               Payment

                                                           None

                                                Total to be paid to secured creditors:          $                      0.00
                                                Remaining balance:                              $                  2,652.86

            Applications for chapter 7 fees and administrative expenses have been filed as follows:
  Reason/Applicant                                                              Total           Interim          Proposed
                                                                            Requested       Payments to           Payment
                                                                                                  Date
  Trustee, Fees - David A. Birdsell                                              664.47              0.00           664.47
  Trustee, Expenses - David A. Birdsell                                          149.55              0.00           149.55
  Attorney for Trustee Fees (Other Firm) - THEODORE P.                         9,528.00              0.00         1,742.00
  WITTHOFT
  Attorney for Trustee Expenses (Other Firm) - THEODORE P.                        96.84              0.00            96.84
  WITTHOFT

                  Total to be paid for chapter 7 administrative expenses:                       $                  2,652.86
                  Remaining balance:                                                            $                      0.00



          1The balance of funds on hand in the estate may continue to earn interest until disbursed. The interest
    earned prior to disbursement will be distributed pro rata to creditors within each priority category. The trustee may
    receive additional compensation not to exceed the maximum compensation set forth under 11 U.S.C. § 326(a) on
    account of the disbursement of the additional interest.

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             Applications for prior chapter fees and administrative expenses have been filed as follows:

  Reason/Applicant                                                   Total              Interim       Proposed
                                                                     Requested          Payments to   Payment
                                                                                        Date

                                                       None

                  Total to be paid for prior chapter administrative expenses:               $                    0.00
                  Remaining balance:                                                        $                    0.00

               In addition to the expenses of administration listed above as may be allowed by the Court,
      priority claims totaling $14,878.79 must be paid in advance of any dividend to general (unsecured)
      creditors.
               Allowed priority claims are:
  Claim      Claimant                             Allowed Amount         Interim Payments                Proposed
  No.                                                    of Claim                  to Date                Payment
  1P         INTERNAL REVENUE                            14,878.79                       0.00                  0.00
             SERVICE

                                                Total to be paid for priority claims:       $                    0.00
                                                Remaining balance:                          $                    0.00

              The actual distribution to wage claimants included above, if any, will be the proposed
      payment less applicable withholding taxes (which will be remitted to the appropriate taxing
      authorities).
              Timely claims of general (unsecured) creditors totaling $8,004.03 have been allowed and will
      be paid pro rata only after all allowed administrative and priority claims have been paid in full. The
      timely allowed general (unsecured) dividend is anticipated to be 0.0 percent, plus interest (if
      applicable).
             Timely allowed general (unsecured) claims are as follows:
  Claim      Claimant                             Allowed Amount         Interim Payments                Proposed
  No.                                                    of Claim                  to Date                Payment
  2          CITIBANK, N.A.                               8,004.03                       0.00                  0.00

                     Total to be paid for timely general unsecured claims:                  $                    0.00
                     Remaining balance:                                                     $                    0.00

              Tardily filed claims of general (unsecured) creditors totaling $0.00 have been allowed and will
      be paid pro rata only after all allowed administrative, priority and timely filed general (unsecured)
      claims have been paid in full. The tardily filed claim dividend is anticipated to be 0.0 percent, plus
      interest (if applicable).
             Tardily filed general (unsecured) claims are as follows:




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  Claim    Claimant                              Allowed Amount        Interim Payments              Proposed
  No.                                                   of Claim                 to Date              Payment

                                                      None

                   Total to be paid for tardily filed general unsecured claims:       $                        0.00
                   Remaining balance:                                                 $                        0.00

             Subordinated unsecured claims for fines, penalties, forfeitures, or damages and claims
    ordered subordinated by the Court totaling $140.32 have been allowed and will be paid pro rata only
    after all allowed administrative, priority and general (unsecured) claims have been paid in full. The
    dividend for subordinated unsecured claims is anticipated to be 0.0 percent, plus interest (if
    applicable).
             Subordinated unsecured claims for fines, penalties, forfeitures or damages and claims
    ordered subordinated by the Court are as follows:

  Claim    Claimant                              Allowed Amount        Interim Payments              Proposed
  No.                                                   of Claim                 to Date              Payment
  1U       INTERNAL REVENUE                                140.32                   0.00                      0.00
           SERVICE

                                            Total to be paid for subordinated claims: $                        0.00
                                            Remaining balance:                        $                        0.00




                                                Prepared By: /s/ David A. Birdsell
                                                                           Chapter 7 Trustee
    David A. Birdsell
    216 North Center
    Mesa, AZ 85201
    (480) 644-1080




    STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
    Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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